        Case 3:07-cv-05944-JST Document 831 Filed 12/21/10 Page 1 of 3



 1 Counsel Listed On Signature Block
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11                                 UNITED STATES DISTRICT COURT
12                                NORTHERN DISTRICT OF CALIFORNIA
13                                    SAN FRANCISCO DIVISION
14
15                                                  Case No. 07-5944 SC
   In re: CATHODE RAY TUBE (CRT)
16 ANTITRUST LITIGATION                             MDL No. 1917
17                                                  STIPULATION AND [PROPOSED]
                                                    ORDER EXTENDING DEFENDANTS'
18 This Document Relates to:                        TIME TO ANSWER INDIRECT
                                                    PURCHASER PLAINTIFFS' THIRD
19    ALL INDIRECT PURCHASER ACTIONS                CONSOLIDATED AMENDED
                                                    COMPLAINT
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     W02-WEST:5DYB1\403148387.2                 STIPULATION AND [PROPOSED] ORDER EXTENDING
     MDL No. 1917                                   DEFENDANTS' TIME TO ANSWER IPPS' 3RD CAC
        Case 3:07-cv-05944-JST Document 831 Filed 12/21/10 Page 2 of 3



 1                   WHEREAS, on December 11, 2010, the Indirect Purchaser Plaintiffs
 2 ("Plaintiffs") filed a Third Consolidated Amended Complaint (the "Complaint");
 3                   WHEREAS, Defendants' respective answers to the Complaint are currently
 4 due on December 27, 2010, pursuant to Federal Rule of Civil Procedure 15(a)(3);
 5                   WHEREAS, Defendants desire additional time to review the Complaint and
 6 prepare their respective answers, and Plaintiffs agree that Defendants may have additional
 7 time to answer the Complaint; and
 8                   WHEREAS, granting Defendants additional time to answer the Complaint
 9 will not impact or interfere with any other currently pending deadlines in this litigation;
10                   IT IS HEREBY STIPULATED AND AGREED, by and between counsel for
11 the undersigned Plaintiffs and Defendants, that Defendants shall have an additional thirty
12 (30) days—up to and including January 26, 2011—to file their respective answers to the
13 Complaint.
14
15 Dated: December 16, 2010                   By: /s/ Mario N. Alioto
                                              MARIO N. ALIOTO, Bar No. 56433
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21                                            Facsimile: (415) 346-0679
22
                                              Interim Lead Counsel for the Indirect
23                                            Purchaser Plaintiffs
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     MDL No. 1917                                    DEFENDANTS' TIME TO ANSWER IPPS' 3RD CAC
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 9
                                                 Attorneys for Defendants
10                                               Samsung SDI America, Inc,.
                                                 Samsung SDI Co., L td .,
11                                               Samsung SDI (Malaysia) Sdn. Bhd.,
                                                 Samsung SDI Mexico S.A. de C.V.,
12                                               Samsung SDI Brasil Ltda.,
                                                 Shenzhen Samsung SDI Co., Ltd., and
13                                               Tianjin Samsung SDI Co., Ltd.,
                                                 And On Behalf of All Other Defendants
14
15                   Pursuant to General Order, § X-B, the filer attests that concurrence in the
16 filing of this document has been obtained from each of the above signatories.
17
18 PURSUANT TO STIPULATION, IT IS SO ORDERED.
19
20 DATED:______________________                           ________________________________
21                                                               Hon. Charles A. Legge
                                                            United States District Judge (Ret.)
22                                                                    Special Master
23                                                                              S DISTRICT
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24 DATED:______________________
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25                                                               Hon. Samuel Conti
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